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 8
                                    UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10
                                          SAN JOSE DIVISION
11
   HUICHAO ZHAO,
12                                                Case No. 5:24-cv-08696 SVK
                            Plaintiff,
13
          v.                                      STIPULATION TO STAY PROCEEDINGS;
14                                                [PROPOSED] ORDER
   KRISTI NOEM, 1 in her official capacity as
15 Secretary of the United States Department of
   Homeland Security, et al.,
16

17                            Defendants.

18
19          The parties, through their attorneys, hereby stipulate and respectfully request the Court to stay

20 proceedings in this case for a limited time, until September 24, 2025. The parties make this joint request

21 because they are pursuing an administrative resolution that may render further litigation of this case

22 unnecessary.

23          1.     Plaintiff filed this mandamus action seeking adjudication of his Form I-589, Application

24 for Asylum and Withholding of Removal. United States Citizenship and Immigration Services

25 (“USCIS”) scheduled an interview for May 27, 2025. USCIS will work diligently towards completing

26

27          1
             Kristi Noem is automatically substituted as the defendant in this matter in accordance with
28 Federal Rule  of Civil Procedure 25(d).
   Stipulation to Stay
   C 5:24-cv-08696 SVK                             1
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 1 adjudication of the I-589 application, absent the need for further adjudicative action or unforeseen

 2 circumstances that would require additional time for adjudication.

 3          2.      Plaintiff agrees to submit all supplemental documents and evidence to USCIS seven to

 4 ten days prior to the agreed upon scheduled interview. Plaintiff agrees that failure to timely submit this

 5 evidence may result in the rescheduling of the interview at no fault of USCIS.

 6          3.      If needed by Plaintiff or their dependent(s), Plaintiff shall bring their own interpreter to

 7 their asylum interview. See https://www.uscis.gov/newsroom/alerts/affirmative-asylum-applicants-must-

 8 provide-interpreters-starting-sept-13. Plaintiff recognizes that failure to bring an interpreter to their

 9 interview may result in the interview being rescheduled at no fault of USCIS.

10          4.      Upon receipt of USCIS’ decision, Plaintiff agrees to voluntarily dismiss the case.

11          5.      The parties agree to bear their own litigation costs and attorney fees.

12          Accordingly, the parties stipulate and request that the proceedings in this case be stayed until

13 September 24, 2025, at which time the parties will file a joint status report with the Court. At that time,

14 the parties may request a further continuance of the stay of proceedings, dismissal of the litigation if

15 appropriate, or placement of the case back on the Court’s active docket. A stay of proceedings in this

16 case will benefit the parties and conserve the Court’s resources while the parties pursue a potential

17 administrative resolution.

18 Dated: February 14, 2025                                Respectfully submitted, 2

19                                                         PATRICK D. ROBBINS
                                                           Acting United States Attorney
20

21                                                         /s/ Elizabeth D. Kurlan
                                                           ELIZABETH D. KURLAN
22                                                         Assistant United States Attorney
                                                           Attorneys for Defendants
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          2
             In accordance with Civil Local Rule 5-1(i)(3), the filer of this document attests that all
27 signatories listed herein concur in the filing of this document.

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     Stipulation to Stay
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 1
     Dated: February 14, 2025
 2                                                      /s/ Junzhe Chi
                                                       JUNZHE CHI
 3                                                     Juris Path Law Firm
                                                       Attorney for Plaintiff
 4

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 7
                                           [PROPOSED] ORDER
 8
        Pursuant to stipulation, IT IS SO ORDERED. If the status of Plaintiff's interview changes, the Parties
 9 must immediately notify the Court.

10 Date: February 18, 2025
                                                       ______________________ ____
11                                                     SUSAN VAN KEULEN
                                                       United States Magistrate Judge
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